United States Bankruptcy Court
Eastern District of Wisconsin

In re __J_effrgy |:, Bqt|er _____ v __ ______ v Case No. 717-22141 __
Debtor(s) Chapter 7 n n `

AMENDED
DECLARATION CONCERNING DEBTOR’S SCHEDULES

DECLARAT]ON UNDER PENALTY OF PERJURY BY lNDlVlDUAL DEBTOR

I declare under penalty of perjury that l have read the foregoing document(s), consisting of l§ page(s),
and that they are true and correct to the best of my knowledge, information, and belief.

 
 
 

Dace May 3,'>, 2017 Signature Is/Jeffre! L.Butle_\j AV 7 __
Jeffrey L. Butler

Debtor

Penaltyfor making a false statement or concealing proper¢y: Finc of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C. §§ 152 and 3571.

Sottware Copyrighr (c) 1996-2017 Best Casa, LLC - www.beslcese.com Beal Case Bankrupu:y

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Fi|l in this information to identi

Debtor1 Jeffrey L. But|er

 

 

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Court for the: EASTERN D|STR|CT OF W|SCONS|N

 

Case number 17-22141 Check if this is:

<If+<nown) l An amended ming

l:l A supplement showing postpetition chapter
13 income as of the following date:

OH|C|H| FOl'm 106| WD_D/YY_W
Schedu|e l: Your |ncome ms

Be as complete and accurate as possib|e. |f two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. |f you are separated and your spouse is not filing with you, do not include information about your spouse. |f more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fi|l in your employment

 

 

information Debtor 1 Debtor 2 or non-filing spouse
lf you have more than one job, - Employed - Employed
attach a separate page with E""P|°yf\'\€"t $tatus
information about additional |:| Not emp'°yed m Not employed
employers. _ _ _
OCCuPaflOn |nvestment Advlsor Socla| Worker

 

|nc|ude part-time, seasonal, or _
self-employed work. Employer'$ name Se|f Employed Cornerstone Counce||lng

 

Occupation may include student Employer's address

or homemaker, if it applies. 185 nghts Ave'

Kewaskum, W| 53040 Wauwatosa, W|

How long employed there? 26 years 6 months

m Give Detai|s About Monthly |ncome

Estimate monthly income as of the date you file this form. |f you have nothing to report for any |ine, write $0 in the space. |nc|ude your non-filing
spouse unless you are separated.

 

|f you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. |f you need
more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

List monthly gross wages, salary, and commissions (before all payroll

 

 

2- deductions). |f not paid month|y, calculate what the monthly wage would be. 2- $ 0-00 $ 1'300'00
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +$ 0.00
4. Calculate gross lncome. Add line 2 + line 3. 4- $ 0.00 $ 1,300.00

 

 

 

 

 

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Debtor 1 Jeffrey L_ But|er Case number (l‘fknown) 17-22141

10.

11.

12.

13.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

For Debtor 1 For Debtor 2 or
non-filing spouse

Copy line 4 here rrrrrrrr 4- $ 0.00 $ 1,300.00
List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $ 0.00 $ 0.00
5b. Mandatory contributions for retirement plans 5b. $ 0_00 $ 0_00
50. Voluntary contributions for retirement plans 5c. $ 0_00 $ 0.00
5d. Required repayments of retirement fund loans 5d. $ 0_00 $ 0_00
5e. |nsurance 5e. $ 0.00 $ 0.00
5f. Domestic support obligations 5f. $ 0.00 $ 0.00
5g. Union dues 59~ $ 0.00 $ 0.00
5h. Other deductions. Specify: 5h.+ $ 0.00 + $ 0.00
Add the payroll deductions. Add lines Sa+5b+50+5d+56+5f+59+5h. 6. $ 0.00 $ 0.00
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 0.00 $ 1,300.00
List all other income regularly received:
8a. Net income from rental property and from operating a business,

profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total

monthly net income. 83. 3 6,970.92 $ 652.83
8b. |nterest and dividends 8b. $ 0.00 $ 0.00
8c. Fami|y support payments that you, a non-filing spouse, or a dependent

regularly receive

|nc|ude alimony, spousal support, child support, maintenance, divorce

settlement, and property settlement 8c. $ 0.00 $ 0.00
8d. Unemployment compensation 8d. $ 0.00 $ 0.00
Be. Social Security B€. $ 7 0.00 $ 0.00
8f. Other government assistance that you regularly receive

|nc|ude cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (beneflts under the Supplemental

Nutrition Assistance Program) or housing subsidies.

Specify: 8f. $ 0.00 $ 0.00
89. Pension or retirement income 89- $ 0.00 $ 0.00
Bh. Other monthly income. Specity: 8h.+ $ 0.00 + $ 0.00
Add all other income. Add lines Ba+8b+8c+8d+8e+8f+89+8h. 9- $ 6,970.92 $ 652.83
Calculate monthly income. Add line 7 + line 9. 10. $ 6,970.92 + $ 1,952.83 = $ 8,923.75
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. j ii
State all other regular contributions to the expenses that you list in Schedule J.
|nc|ude contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. +$ 0.00
Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statist/'cal Summary of Certain Liabi/ities and Related Data, if it
applies 12. $ M

Combined

monthly income

Do you expect an increase or decrease within the year after you file this form?
- No.
|:| Yes. Explain:

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page 2

 

 

Schedule I - Item 8a

Business Name: NorWeX Sales (nOn-tiling spouse’s business)
Income: $810.00
Expenses:

Car & Truck EXpenseS $5.50

Oftice Expenses $26.42

Rental Payments 35 .42

Suppiies $1.25

Travel Costs $71.08

Deductible Meals $0.58

Convention Fees $12.42

Websitc Chargcs $10.00

Internet & Phone Fees $24.50
Net Income: $652.83
NOTE: These figures Were calculated using the Debtor’s 2016 Form 1040, Schedule C, and

dividing each item by twelve to reach an average monthly income and expense

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Schedule I - Item 8a

Business Name: Wisconsin lnvestment Services
Income: $10,343.00
Expenses:

Commissions & Fees $2477.00

Insurance $156.00

Other $0.17

Legal & Professional Fees $524.83

Rental Fees $675.00

chairs & Maintenance $349.67

Utilities $128.00

Bank Charges $5.33

Vehicle Expenses $600.00

Telephone Charges $401.17

Computer & Internet Fees $408.00

Dues & Subscriptions 320.75
Net Income: $5745.92
NOTE: These figures Were calculated using the Debtor’s 2016 Form 1040, Schedule C, and

dividing each item by twelve to reach an average monthly income and expense

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Fill in this information to identify your cases

    
 

 

Debf0r1 Jeffrey L. But|er

Flrst Name Middle Name Last Name
Deblor 2 _
1130-ausa ir'_ lil-r'.g,\ First Name Millule Nar-ie Lasi Na'ne

United States Bankruptcy Court for the: EASTERN DlSTRlCT OF WlSCONSlN

Case number 17_22141 l

(if known)

l Check ifthis is an
amended H|ing

Ofticial Form 107
Statement of Financial Affairs for lndividua|s Fi|ing for Bankruptcy 4/16

 

Be as complete and accurate as possib|e. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Marita| Status and Where You Lived Before

1. What is your current marital status?

- Married
l:l Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

- No

l:l Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1 Prior Address: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

l:l No
- Yes. Make sure you tlll out Schedule H: Your Codebtors (Official Form 106H).

Explain the Sources of Your |ncome

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
lf you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

l:l No
l Yes. i=iii in the details

Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions
exclusions) and exclusions)
F°r last Cale“da' yearf l:l Wages, commissions, $69,184.00 l:l Wages, commissions,
(Janual'y 1 to December 311 2015) bonuses, tips bonuses, tips
l operating e business E| Operating a business
Officlal Form 107 Statement of Financial Affairs for lndividuals Fi|ing for Bankruptcy page 1
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Debtor 1 Jeffrey L. But|er Case number (ifknown) 17-2214,_‘1
Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions
exclusions) and exclusions)
F°r the Calendar year before that l:l Wages, commissions, $73,067.00 l:l Wages, commissions,
(January 1 to December 31, 2015 ) bonuses, tips bonusesl tips
- Operating a business l:l Operatan 3 business
Fel' the Calendar yeeri l:l Wages, commissions, $85,800.00 l:l Wages, commissions,
(January 1 to December 31, 2014 ) bonuses, tips bonuses, tipS
l Operating a business l:l Operating a business
5. Did you receive any other income during this year or the two previous calendar years?

|nc|ude income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings. lf you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

l:l No
l yes i=iii in the details
Debtor 1 Debtor 2
Sources of income Gross income from Sources of income Gross income
Describe below. each source Describe below (before deductions
(before deductions and and exclusions)
exclusions)
F°r lan Ca|endar year= Rental |ncome $9,625.00
(January 1 to December 31, 2016 )
For the calendar year before that: Rental |ncome $10,500_00
(January 1 to December 31, 2015 )
F°l’ the ea|endar yeah Capital Gain $298,839.00
(January 1 to December 31, 2014 )
Rental |ncome $10,000.00

List Certain Payments You Made Before You Filed for Bankruptcy

6.

thcial Form 107

Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

- No.

l:l Yes.

Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose."

During the 90 days before you iled for bankruptcy, did you pay any creditor a total of $6,425* or more?
- No. Go to line 7.
l:l Yes List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do

not include payments to an attorney for this bankruptcy case.
* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

n No. Go to line 7.

El Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

Statement of Financial Affairs for lndividuals Fi|ing for Bankruptcy page 2

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Debtor 1 `Jeffrey L_ But|er Case number (/fknawn) 17-22141

 

Creditor's Name and Address Dates of payment Total amount Amount you

paid still owe

Was this payment for

7. Within 1 year before you filed for bankruptcyl did you make a payment on a debt you owed anyone who was an insider?
/nsiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an ofticer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for

a business you operate as a sole proprietor. 11 U.S.C. § 101. |nc|ude payments for domestic support obligations, such as child support and
alimony.

-No

l] Yes. List all payments to an insider.

|nsider's Name and Address Dates of payment Total amount Amount you

paid still owe

Reason for this payment

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?

|nc|ude payments on debts guaranteed or cosigned by an insider.
- No

l:l Yes. List all payments to an insider
|nsider's Name and Address

Dates of payment Total amount Amount you

paid still owe

Reason for this payment
|nc|ude creditor's name

|dentify Lega| Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any |awsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.

El No
l Yes. Fill in the details

Case title
Case number

Dorsch v. But|er, et al. FlNRA

Nature of the case Court or agency Status of the case

A bt t Allegedbl - Pending
r i ra ion unsuita e l'_`l 0 |
16-01053 investment advice ij C:n:li):::d
Sharma v. But|er et al. (F|NRA arbitration - l Pending
Arbitration) alleged unsuitable i:i 0 i
16.02005 investment advice ij C;n:r|,:::d
Dorsch et al. v. Wisconsin |nv. suit alleging Dane County Circuit Court l pending
Svcs_ investment |:] 0 l
17-CV-345 negligence and ij C:n:‘i):::d

other actions
against defunct
LLC

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and till in the details below.

- No. Go to line 11.
l:l Yes. Fill in the information below.
Creditor Name and Address

Describe the Property Date Va|ue of the
property
Explain what happened
Official Form 107 Statement of Financial Affairs for lndividua|s Fi|ing for Bankruptcy page 3

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Debtor1 Jeffrey L_ But|er Case number (lfl<nown) 17-22141

 

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?
- No
lIl Yes. l=ill in the details
Creditor Name and Address Describe the action the creditor took Date action was Amount
taken
12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another officia|?
- No
l:l ¥es

mist Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
- No

l:l Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts

Dates you gave Va|ue
per person

the gifts

Person to Whom You Gave the Gift and
Address:

14 Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
- No

l:l Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities that total Describe what you contributed Dates you Va|ue
more than $600

contributed
Charity's Name
Address (Number, street, city, state and zlP cdds)

m List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?
- No
lZl ves. Fill in the details

Describe the property you lost and

Describe any insurance coverage for the loss Date of your Va|ue of property
how the loss occurred

|nc|ude the amount that insurance has paid. List pending loss lost
insurance claims on line 33 of Schedu/e A/B.‘ Property.

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

|nc|ude any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
l:l No
l Yes. Fill in the deteils.

Person Who Was Paid Description and value of any property

Date payment Amount of
Address transferred or transfer was payment
Emai| or website address made
Person Who Made the Payment, if Not ¥ou
Steinhi|ber Swanson LLP Attorney Fees - $2015 related to 11-26-16 $5,350.00
107 Church Avenue pre-bankruptcy analysis and planning.
PO Box 617 $3000 related to this proceeding plus
Oshkosh, Wl 54903-0617 filing fee
Official Form 107 Statement of Financial Affairs for lndividua|s Fi|ing for Bankruptcy page 4

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Debtor1 Jeffrey rL:_Bij§r Case number (if/<nt>wn) 17_22141

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

- No

El Yes. Fill in the details

Person Who Was Paid Description and value of any property Date payment Amount of

Address transferred or transfer was payment
made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

|nc|ude both outright transfers and transfers made as security (such as the granting of a security interest or mortgage orl your property). Do not
include gifts and transfers that you have already listed on this statement.

l:l No
l Yes. Fill in the details

Person Who Received Transfer Description and value of Describe any property or Date transfer was
Address property transferred payments received or debts made

paid in exchange
Person's relationship to you

Donna F. But|er rev. trust 1551 Fond du lac Ave., So|d office and 2-24-2017
1891 Sha|om Dr. Kewauskum, W| apartments to mothers
West Bend, W| 53090 trust for $171,600. Bank

(PWSB) had property
appraised last month
and agreed to take
$170,000 in exchange for
a satisfaction of
mortgage (short sale).
Transfer is asserted to
be for reasonably
equivalent value.

Mother's trust

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trustor similar device of which you are a
beneficiary? (These are often called asset-protection devices.)

- No
lZl Yes. Fill in the details
Name of trust Description and value of the property transferred Date Transfer was
made
List of Certain Financial Accounts, lnstruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?

|nc|ude checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

l No
El Yes. Fill in the details

Name of Financial lnstitution and Last 4 digits of Type of account or Date account was Last balance

Address (Number, street city, state and zlP account number instrument closed, sold, before closing or

COde) moved, or transfer
transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,

cash, or other valuables?

- No
El Yes. Fill in the details

Name of Financial lnstitution Who else had access to it? Describe the contents Do you still
Address (Numbsr, street, city, state and zlP code) Address (Number, street, city, have it?
State and ZlP Code)
Offlcial Form 107 Statement of Financial Affairs for lndividuals Fi|ing for Bankruptcy page 5

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Debtor1 Jeffrey L_ But|er Case number (ifl<newn) j1¢77.22141

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

- No

II| Yes Fill in the details

Name of Storage Faci|ity Who else has or had access Describe the contents Do you still
Address (Number, street, city, state and zlP cede) to it? have it?

Address (Number, street city,
State and ZlP Code)

identify Property ¥ou Ho|d or Control for Someone Else

23. Do you hold or control any property that someone else owns? |nc|ude any property you borrowed from, are storing for, or hold in trust
for someone.

- No

El Yes. Fill in the details

Owner's Name Where is the property? Describe the property Va|ue
Address (Number, street, city, state and zlP cede) g:)ud':?er. Sfreef. City, State and ZlP

Part 10: Give Details About Environmental information

For the purpose of Part 10, the following definitions apply:

l Environmental law means any federa|, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, |and, soil, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or materia|.

Site means any location, facility, or property as defined under any environmental |aw, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

- Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous materia|, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental |aw?

- No
El Yes Fill in the details
Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZlP Code) Address (Number, Street, City, State and know it
ZlP Code)

25. Have you notified any governmental unit of any release of hazardous materia|?

- No
El Yes Fill in the details

Name of site Governmental unit Environmental |aw, if you Date of notice
Address (Number, street, city, state and zlP code) Address (Number, street, city, state and know it
zlP code)

26. Have you been a party in anyjudicial or administrative proceeding under any environmental |aw‘? |nc|ude settlements and orders.

- No

El Yes Fill in the details

Case Tit|e Court or agency Nature of the case Status of the
Case Number Name case

Address (Number, Street, City,
State and ZlP Code)

Part 11 : Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
n A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
l:| A member of a limited liability company (LLC) or limited liability partnership (LLP)

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Debtor 1 Jeffrey L_ But|er Case number (lfknown) 17-22141

 

n A partner in a partnership

\:l An officer, director, or managing executive of a corporation

l:l An owner of at least 5% of the voting or equity securities of a corporation
l:l No. None of the above applies. Go to Part12.

- Yes. Check all that apply above and fill in the details below for each business.

Business Name Describe the nature of the business Employer identification number

Address Do not include Social Security number or |T|N.
(Number, Sfl'eef, city, State and ZlP Code) Name of accountant or bookkeeper

Dates business existed

Wisconsin investment Services, investment Advisory Services E|N: XX-XXXXXXX
l1_t|;_5cKnights Ave_ Mark Hauser, CPA F'°m'T° continues until October 2016
Kewaskum, W| 53040 (now proprietorship)
|ntruco, LLC Trust Services E|N: 06-174311

Mark Hauser F'°m'T° defunct 2016
But|er Family Holdings, LLC passive real estate E|N: XX-XXXXXXX

F'°m'T° current

Nonlvex Sales Other Direct Sel|ing EiN¢ Non-Fi|ing Spouse's SSN
1710 Wildlife Drive Establishment; Non-Filing Spouse
Kewaskum, W| 53040 is a consultant for sale of goods F'°m'T°

through catalogs and home

parties

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions, creditors, or other parties.
- No
El Yes Fill in the details below.

Name Date issued
Address
(Number, Street, City, State and ZlP Code)

Oft"lcia| Form 107 Statement of Financial Affairs for individuals Fi|ing for Bankruptcy page 7

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Debtor 1 Jeffrey L_ But|er j 7 Case number (ifl<newn) 17-22141

 

Part12: Sign Be|ow

i have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers

are true and correct. i understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

ls/ Jeffrey L. But|er

Jeffrey L. But|er Signature of Debtor 2
Signature of Debtor 1

 

Date May 25, 2017 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
- No

l:l Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

- No

i:l Yes. Name of Person . Attach the Bankruptcy Petition Preparer's Notice, Dec/aratl'orl, and Signature (Officia| Form 119).

Officia| Form 107 Statement of Financial Affairs for individuals Fi|ing for Bankruptcy

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